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              EXHIBIT I
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Lovbekendtgørelse 2010-06-22 nr. 849 om bemyndigelse
til optagelse af statslån
§1
Finansministeren kan optage lån inden for et samlet gældsmaksimum på 2.000
mia. kr.

Stk. 2. I gældsmaksimum efter stk. 1 indgår den til enhver tid værende restgæld
efter statslån optaget i henhold til gældende love om bemyndigelse til optagelse
af indenlandske statslån og statslån i udlandet.

Stk. 3. I forbindelse med låntagningen og den løbende gældsforvaltning kan
finansministeren opkøbe egne værdipapirer og indgå aftaler om bytte af rente-
eller valutabetalingsstrømme (swapaftaler) og andre finansielle transaktioner.
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Consolidated Act No. 849 of June 22, 2010 on authorization for admission of government
loans

§1

The Minister of Finance can raise loans within a total debt limit of 2000 billion kroner.

Paragraph 2. The maximum debt according to paragraph 1 includes the residual debt incurred at
any time after state loans have been admitted in accordance with applicable laws on authorization
for admission of domestic government loans and government loans abroad.

Paragraph 3. In connection with the borrowing and the current debt management, the finance
minister can acquire their own securities and enter into agreements for the exchange of interest
rates or cash flows (swap agreements) and other financial transactions.
